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  9   ALISON TOY and ANDREA WARD

 10
                            UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
 12

 13
    ALISON TOY and ANDREA WARD,                     Case No.: 8:20-cv-02191-DOC-ADS
 14 on behalf of themselves and all others
    similarly situated,                             [ASSIGNED FOR ALL PURPOSES TO
 15                                                 HON. DAVID O. CARTER]

 16                     Plaintiffs,
                                                    NOTICE OF VOLUNTARY
 17                                                 DISMISSAL PURSUANT TO FED.
           v.                                       R. CIV. P. 41(a)(1)(A)(i)
 18
    HAWAIIAN HOST CANDIES OF
 19 L.A. INC.,

 20            Defendant.

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                NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i);
                                  CASE NO. 8:20-CV-02191-DOC-ADS
Case 8:20-cv-02191-DOC-ADS Document 21 Filed 07/07/21 Page 2 of 2 Page ID #:90




  1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
  3   Plaintiffs Alison Toy and Andrea Ward (“Named Plaintiffs”), by and through their
  4   counsel of record, hereby voluntarily dismiss all their claims in the above-captioned
  5   action, with prejudice as to Named Plaintiffs’ individual claims, and without prejudice
  6   as to any claims of putative class members.
  7         Defendant Hawaiian Host Candies of L.A., Inc. has not filed or served an
  8   answer or a motion for summary judgment in the action. Accordingly, Named
  9   Plaintiffs may dismiss all their claims in this action under Fed. R. Civ. P.
 10   41(a)(1)(A)(i).
 11

 12   DATED: July 7, 2021                      FARUQI & FARUQI, LLP
 13
                                               /s/ Benjamin Heikali
 14                                            Benjamin Heikali
                                               Joshua Nassir
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 16
                                               THE WAND LAW FIRM, P.C.
                                               Aubry Wand
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                                               Attorneys for Plaintiffs
 18                                            ALISON TOY and ANDREA WARD
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               NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41 (a)(1)(A)(i);
                                 CASE NO. 8:20-CV-02191-DOC-ADS
